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                EXHIBIT 3




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                EXHIBIT 3
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                 Highly Confidential – Attorneys' Eyes Only




                   United States District Court
     Northern District of California, San Francisco Division
               Civil Action No. 3:17-CV-00939-WHA




                             WAYMO LLC
                                    v.
UBER TECHNOLOGIES, INC.; OTTOMOTTO LLC; OTTO TRUCKING
                                   LLC




                          Expert Report of
                         Michael J. Wagner
                           August 24, 2017
         Case 3:17-cv-00939-WHA Document 2688-7 Filed 01/28/19 Page 3 of 3
                                Highly Confidential – Attorneys' Eyes Only

             21.     In August 2016, Uber acquired Ottomotto, which at the time had over 90
employees.36 After the acquisition, Uber retired the Otto name and integrated all of its self-
driving efforts under its Advanced Technologies Group.37


             4.    Otto Trucking LLC

             22.    Otto Trucking LLC is a limited liability company with its principal place of
business located at 737 Harrison Street, San Francisco, CA.38

             23.    Anthony Levandowski and Lior Ron founded Otto Trucking on February 1,
        39
2016.         As explained by Lior Ron, “Otto Trucking is basically a legal holding entity. It doesn't
have any IP; it doesn't have any R&D activities; doesn't have any employees; doesn't have any
ongoing activity of any sort.”40        Cameron Poetzscher, Uber’s Vice President of Corporate
Development, stated that “Otto Trucking is largely just an LLC” and “just an entity with … very
little, if any, operations or employees.”41

             24.    However, as Mr. Poetzscher also explained, Otto Trucking LLC has a “contract
with Uber or one of its affiliates to be acquired by Uber.”42 Uber’s option period to acquire Otto
Trucking opens on August 31, 2017, and closes on November 30, 2017.43 If Uber does not
acquire Otto Trucking during that period, Uber will be obligated to (i) become a 50% owner in
Otto Trucking and (ii) to license Uber's self-driving technology (including all trade secrets)
exclusively to Otto Trucking (even vis-à-vis Uber) for use in the commercialization of self-driving
trucks.44




36
     Uber, “Rethinking Transportation,” August 18, 2016, <https://newsroom.uber.com/rethinking-
     transportation/>, accessed August 16, 2017. [2.14]
37
     Uber, “The Future of Trucking,” <https://www.uber.com/info/atg/truck/>, accessed August 16, 2017.
     [2.13]
38
     First Amended Complaint, ¶ 15, p. 6. [2.1]
39
     First Amended Complaint, ¶ 49, p. 12. [2.1]
40
     Deposition of Lior Ron, April 19, 2017, p. 13. [2.18]
41
     Deposition of Cameron Poetzscher, June 19, 2017, pp. 292, 370. [2.19]
42
     Deposition of Cameron Poetzscher, June 19, 2017, p. 370. [2.19]
43
     Plaintiff's First Supplemental Objections and Responses to Otto Trucking, LLC's First Set of
     Interrogatories (Nos. 1-14), p. 126. [7.7]
44
     Plaintiff's First Supplemental Objections and Responses to Otto Trucking, LLC's First Set of
     Interrogatories (Nos. 1-14), pp. 126-127. [7.7]



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